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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.
                                                        Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                           Defendant


  GOVERNMENT’S RESPONSE TO THE COURT’S OCTOBER 23 MINUTE ORDER

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby files with the Court its response to the Court’s Minute Order of

October 23, 2020. By that Minute Order, the Court directed the government to file, by no later

than October 26, 2020, a declaration pursuant to penalty of perjury under 28 U.S.C. sec. 1746,

that the 14 exhibits attached to its motion to dismiss (ECF 198) and supplement (ECF 249)

(hereinafter “Government Exhibits”) are true and correct copies. The Court extended this order

to documents produced by the government in discovery which were subsequently filed by the

defendant as exhibits in support of the defendant’s supplementary filings (ECF Nos. 228, 231,

237, 248, 251, 257, and 264) (hereinafter “Discovery Documents”). With respect to both

categories, the Court ordered the government to identify each “exhibit” and “discovery

document” by “name, date and author.” Lastly, the Court ordered the government to “provide

transcriptions of all handwritten notes contained in the Exhibits.” See ECF Minute Order of

October 23, 2020.

Government Exhibits

       There have been no material alterations made to any of the 14 Government Exhibits filed

in support of the motion to dismiss and the supplement to the motion to dismiss. Several of the
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documents contain routine redactions made by the FBI to protect classified information, and/or

law enforcement sensitive information, and/or made to comply with the Local Rule to remove

Privacy Act information. In compliance with the Court’s Order, the government has created a

chart, attached hereto as Exhibit A,1 that identifies the name, date, and author of each of the 14

government exhibits.

       The Government Exhibits described in Exhibit A are authenticated as follows:

       (A)(1) John Brown, Executive Assistant Director (“EAD”) of the National Security

Branch of the Federal Bureau of Investigation (“FBI”), has declared, under penalty of perjury, to

the best of his knowledge, and based on the information provided to him, that all Government

Exhibits described in Exhibit A, with the exception of those described in paragraphs (A)(2) and

(A)(3), are true and correct copies of documents and records, including copies of select pages of

larger records, maintained by the FBI pursuant to the applicable records retention policy. See

Declaration of EAD John Brown, attached hereto as Exhibit C.

       (A)(2) One of the Government Exhibits, ECF 198-8, is a summary chart of electronic

communications created by attorneys at the D.C. U.S. Attorney’s Office (DC-USAO) and the

Eastern District of Missouri U.S. Attorney’s Office (EDMO-USAO) (collectively EDMO/DC-

USAO) to capture relevant electronic communications involving multiple FBI personnel while

excluding irrelevant information and excess metadata. For this Government Exhibit, AUSA

Sayler Fleming has declared, under penalty of perjury, to the best of her knowledge, that that this

Government Exhibit truly and correctly reflects excerpts from documents and records maintained


1
       Consistent with its practice in this case, the government has redacted the names of
individual FBI employees where those employees are not employed at the Senior Executive
Service level, or where those employees are not otherwise publicly associated with this matter.
An unredacted copy of Exhibit A will be filed with the Court under seal.



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by the FBI pursuant to the applicable records retention policy, and provided to EDMO/DC-

USAO for review.2 See Declaration of AUSA Sayler Fleming, attached hereto as Exhibit D.

       (A)(3) One of the Government Exhibits is a report of the interview of Special Agent

William Barnett. See ECF 249-1. Keith Kohne, a Special Agent with the Federal Bureau of

Investigation, has declared, under penalty of perjury, to the best of his knowledge, and based on

the information provided to him, that this exhibit is a true and correct copy of the report of that

interview. See Declaration of Special Agent Keith Kohne, attached hereto as Exhibit E.

Discovery Documents

       The government has undertaken a comprehensive review of the documents produced in

discovery in this case which were subsequently filed by the defendant as exhibits in support of

the defendant’s supplementary filings (ECF Nos. 228, 231, 237, 248, 251, 257, and 264). Those

Discovery Documents consist of various handwritten notes, transcripts, electronic

communications, and summary substitutions. The government has created a second chart,

attached hereto as Exhibit B,3 that identifies the name, date, and author of the Discovery

Documents provided to the Mr. Flynn by the government in this case.

       The Discovery Documents referenced in the defendant’s supplemental filings described

in Exhibit B are authenticated as follows:




2
        The government and the declarant agree that there is a single typographical error in this
exhibit. A single message (“Will do.”) from DAD Peter Strzok, sent on 4-Jan-17, is incorrectly
identified as having been sent at 2:17 PM; the message was actually sent at 2:18 PM.

3
        As described above, the government has redacted the names of individual FBI employees
where those employees are not employed at the Senior Executive Service level, or where those
employees are not otherwise publicly associated with this matter. An unredacted copy of Exhibit
B will be filed with the Court under seal.
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       (B)(1) EAD Brown has declared, under penalty of perjury, to the best of his knowledge,

and based on the information provided to him, that the Discovery Documents described in

Exhibit B, with the exception of those described in paragraphs (B)(2) and (B)(3), are true and

correct copies of documents and records maintained by the FBI pursuant to the applicable

records retention policy. See Declaration of EAD Brown, attached hereto as Exhibit C.

       (B)(2) One of the Discovery Documents is a spreadsheet that was created by attorneys at

EDMO/DC-USAO to capture relevant electronic communications involving multiple FBI

personnel while excluding irrelevant information and excess metadata. See ECF 228-3, which is

identical to ECF 198-8. For this Discovery Document, AUSA Sayler Fleming has declared,

under penalty of perjury, to the best of her knowledge, that that this Government Exhibit truly

and correctly reflects excerpts from documents and records maintained by the FBI pursuant to

the applicable records retention policy, and provided to EDMO/DC-USAO for review, as

described above. See Exhibit D.

       (B)(3) One of the Discovery Documents is a summary substitution of classified materials

that were provided to EDMO/DC-USAO by the FBI. See ECF 257-2. This summary

substitution was prepared by AUSA Jocelyn Ballantine, and was reviewed, approved, and

declassified by the FBI. EAD Brown has declared under penalty of perjury, to the best of his

knowledge, and based on the information provided to him, that the information contained therein

truly and correctly summarizes the underlying classified information provided by the FBI and

maintained by the FBI pursuant to the applicable records retention policy pursuant to the

applicable records retention policy. See Exhibit C.




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Documents Not Relied Upon by the Government

       On September 2018, the DC-USAO received from the Department of Justice Office of

the Inspector General a complete set of the text messages between OGC Attorney Lisa Page and

DAD Peter Strzok. As the Court is well-aware, the government first disclosed the existence of

these text messages to Mr. Flynn on November 30, 2017. Thereafter, the government provided

excerpts of these text messages and links to publicly available compilations of these

communications to Mr. Flynn on March 13, 2018, June 24, 2018, October 28, 2019, and April

29, 2020. On September 23, 2020, the government provided Mr. Flynn with additional text

messages from the set it had received from the OIG in September 2018. The government is not

relying on these additional text messages in support of its motion to dismiss.

       The government also notes that there are Discovery Documents attached to Mr. Flynn’s

filings that it has not authenticated for the purpose of this filing because those documents were

not relied upon by the government in its motion to dismiss or arguments in support thereof. See

ECF Nos. 228-2, 228-4, 228-5, and 248-1.

Transcriptions of Handwritten Notes
       The Court has additionally ordered the government to provide transcriptions of all

handwritten notes contained within the Government Exhibits and the Discovery Documents.

The government has complied to the best of its abilities. See Exhibits F through N.4 Where

possible, the government has provided copies of these notes and the resulting transcripts to the

author or their attorney for review.




4
        As described above, the government has redacted the names of individual FBI employees
where those employees are not employed at the Senior Executive Service level, or where those
employees are not otherwise publicly associated with this matter. An unredacted copy of any
transcriptions of notes will be filed with the Court under seal.
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        The government acknowledges its obligation to produce true and accurate copies of

documents. The government has fully admitted its administrative error with respect to the failure

to remove three reviewer sticky notes containing estimated date notations affixed to three pages

of undated notes (two belonging to former Deputy Assistant Director Peter Strzok, and one page

belonging to former Deputy Director Andrew McCabe) prior to their disclosure. These dates

were derived from surrounding pages’ dates in order to aid secondary reviewers. These three

sticky notes were inadvertently not removed when the relevant documents were scanned by the

FBI for production in discovery. See ECF 259. The government reiterates, however, that the

content of those exhibits was not altered in any way, as confirmed by attorneys for both former

FBI employees.




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       The government respectfully submits this response, and declares under penalty of perjury

that the Government Exhibits and Discovery Documents are true and correct, are correctly

identified, and have been faithfully transcribed. Consistent with the en banc D.C. Circuit’s

statement, “we trust and expect the District Court to proceed with appropriate dispatch,” In re

Flynn, 2020 WL 5104220, at *7, the government respectfully submits that the Court should

immediately grant the unopposed motion to dismiss the criminal information with prejudice.


                                                     Respectfully submitted,

                                                     MICHAEL R. SHERWIN
                                                     Acting United States Attorney
                                                     NY Bar No. 4444188

                                                     KENNETH C. KOHL
                                                     Acting Principal Assistant U.S. Attorney

                                                     By: /s/ Jocelyn Ballantine
                                                     Jocelyn Ballantine
                                                     Assistant United States Attorney
                                                     CA Bar No. 208267
                                                     555 4th Street NW
                                                     Washington, D.C. 20530

Dated: October 26, 2020
Enclosures




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